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                                                                                     JUN 2i 2218
                                                                                  JU        D E% CLERK
   Honorabl
          eJudgeJoelC.Hoppe,                    -/Y-cz-JJJ7                      BY:           ux
      Sir,lwould firstlike to clari
                                  fy thatlam not,in any w ay,shape orform ,a legalentity nordo l
   know orunderstand any Iegalterm inology because Idid notgo to 1aw school.In this
   correspondence/com m unication lam going to attem ptto be as clearand concise as possible
   withoutusing any IegaljargonthatIobviously know nothing aboutnorhow to properly
    im plementin a m essage to a seasoned Iegalbody such as yourselforyourclerks orstal.W hat
    Ido have,though,is nearly a dozen years ofm ilitary experience and severalyears as a Staff
    Non-com m issioned Officer,so Iwillattemptto use aIIofmy knowledge and ability to convey my
    message as poignantly and intelligently as Ican.Thank you.

      YourHonor,lwould Iike to apologize forany ofyourtim e orthe time ofyourstaffthatImay
   have wasted in these lastseveralweeks ormonths by overlooking orIetting slip from my
   mem ory this case which you are currently presiding over.Itwas notm y intention norm otive to
   be blatantly belligerentorcontentious againstyourcourtorthe orders ofthe coud.Ihumbly
   requestthatyou take into consideration my specific circumstances in my currentsituation and
   please considerIeniency in my follow ing sum mary.Iwillfurtherexplain and elaborate on certain
   details regarding the inform ation requested from mysel
                                                         fin regards to the ''planning''ofthe
   August2017 Unite The Rightrally and my actualIack ofany involvem entin thatevent.By no
   means am 1asking forpity orsym pathy from yourselforanyone else in the court.Iam a m an
   whose entire upbringing and young Ii  fe has been bound in honorand integrity and Ishallhold
   myselfaccountable forany consequences thatmy actions m ay im parton my person.

      To putitsim ply,I'm flatbroke,penniless,destitute and poverty stricken.Forthe Iastseveral
   months Ihave had to survive and provide formy fam ily through selling w hatbelongings Ihave,
   w hile stillattem pting to m aintain my com posure afterhaving to pad w ith childhood heirlooms
   thatIwanted to keepformysonto enjoywhen hewas olderand healthier.My son,himself,was
   a m icro-preem ie being born atonly 23 weeks and 5 days.Luckily he survives and is doing vel'y
   well,buthe stillhas excessi ve medicalneeds and his finalm edicalbills afterspending 8 m onths
   in the New born Intensive Care Unitwas over4 million dollars.Luckily his insurance covered
   about99% ofit,butitstillcostme m y entire savings to care forhim properly.I've had to sell
    belongingsthatI've keptsince lcan rememberjustto scrapeenoughtogetherto paymywater
    billorelectric bill.As ofIate,I've had to partways with m y 1978 InternationalLoBoy tractorthatI
    used to mow my yard and m y Nintendo Gam eboy kitwhich Irediscovered w hile cleaning outm y
    m other's estate when she passed aw ay unexpectedly in M arch of2017.I've also had to part
   wayswith anantique motorcycle thatI'
                                      ve had forthe Iastdecade andlearnedto ride a
    m otorcycle on.To say m y Iiving situation has been rough these past2 years is an
    understatem ent,butIwilltry to startfrom the beginning around the m iddle ofJune,2017.

        My motherunexpectedly passed away from congestive heartfailure one day afterher65th
    birthday on M arch 14th,2017.She stilllived atherhome,
            where m y brotherand Igrew up.She was in the hospitalhooked up to every singl e
    m achine and tube and wire and cable im aginable for2 weeks before my brotherand lfinally




Case 3:17-cv-00072-NKM-JCH Document 509 Filed 06/24/19 Page 1 of 3 Pageid#: 5352
        m ade the decision to have herIife supportshutoff.She died som e 10 m inutes later.Afterthat,
        my brother,in a som ew hatm ore tactfulIanguage,told me Iwas on m y own and he proceeded
        to scavenge the house forwhatIittle he wanted and Ieftthe nextday to return to Las Cruces,
        New Mexico where he Iived with his wife and their2 cats.lw as basicall  y stranded 2000 miles
        away from my wife,in my childhood hom e,w i th Iittle fam ily orsupportto help me settle my
)       m other's estate.Luckily form e,my auntw as a paralegaland she helped w alk m e through the
        m onths ofIegalwork and everything needed to close an estate and settle aIIdebts.Itwas
        extremelydifficultbecause mymotherhad kurned many bridgeswith herfamily in herfinal
        years.I'm stillpaying monthlyfora rentalunitin Roswellwhere Ihave m uch ofmy m other's and
        my ow n saved belongings.This coincides with the events thathappened Iaterthatyear.

           Wi
            th a!lofthisgoing on !wasstilljuggling my leadership position in VanguardAmerica and
        dealing with the antics and horseplay ofaIlthe m em bers ofthatgroup.Unknown to me,Iw as
        actually being conspired againstby a sm allgroup ofindividuals within Vanguard who had
        systematically and deceitfully isolated me from alIofthe socialmedia accounts and otherm edia
        accounts underthe guise ofcom partm entalized inform ation forsecurity purposes.Allofthis
        cam e to a head w hen on oraboutJune 19th,Iwas actually m utinied againstand kicked from alI
        com m unication servers thatVanguard had in operation on Discord.Once thathappened I
        sim ply Ieftthe entire organization altogetherand focused on my own life and my m other's
        estate.Iwasn'tinvolved in any planning forthe Unite the Rightrally.Iwas notin attendance to
        the rally and Iwas stillin New Mexico atthe tim e trying to finalize m y mother's assets and place
        aIIofherbelongings in storage.ldo know the nam es,addresses and phone num bers ofthose
        individualsw ho did representVanguard atthe time,w ho did com m and Vanguard atUnite the
        Rightand w ho did personally hand the shield to and place Jam es Alex Fields in frontofthe
        cam eras and ifitdoes please the courtIcan relinquish thatinform ation to you im mediatel   y.Ido
        believe injustice,yourhonorand Ido believe insome sortofkarma.ltwasn'tuntilshortlyafter
        the rally thatsome ofmy friends and com patriots began messaging me and asking where Iwas
        and thatthey had notheard from me in som e tim e.1told them whathad happened and thatl
        wasbannedfrom alItheserverssoIhadbasicallyjustfocusedaIImyattentionawayfrom the
        m ovement.The issue then was,they aIlwanted me back.They hated the individualsw ho had
        performed the coup d'étatand told me they were grossly incompetent,as seen extensively at
        the 2017 rally.This a1ltranspired between August15th to August30th,where m uch ofthe
        m em bership actually shifted themselves back undermy authority and leftaIIthe servers that
        were stillcontrolled by the conspirators.There was a Iotofheated strife between the two groups
        then,mostly overassets such as aIIthe socialm edia accounts,website and discord servers that
        they controlled.Soon enough,they had rebranded as the group PatriotFrontand are still
        operating currently and have stillused,untiljuitafew monthsago,theoIdwebsite,
        ''Bloodandsoil.org''which they had com m andeered back in June of2017.Once the Iawsuits
        were issued Iattem pted to contactthe Ieading conspiratorand IeaderofPatriotFrontseveral
        times to comm unicate to him thathe needed to respond to this lawsuitas well,because he was
        the one who was in controlofthe organization atthattime.AIlofthose attem ptswere ignored
        by said individualand Iattem pted to take care ofitby m yself,even though lwas nevereven at
        the event,norwas Iin any way partofthe planning ororganization ofthe rally.Yourhonor,I




    Case 3:17-cv-00072-NKM-JCH Document 509 Filed 06/24/19 Page 2 of 3 Pageid#: 5353
   can assure you,with m y military experience and background in upperechelon comm and,what
   transpired thatday would nothave happened undermy watch and whatdid happen thatday is
   reprehensible.ldo feelshame thata life had to be Iostthatday,and Ido feelsham e thatm any
   peoplewere injuredand traumatized bythose events.Ican relate to thatkind oftrauma.1,
   m yself,was medically retired from the m ili
                                              tary atthe beginning of2017 forsevere posttraumatic
   stress and othercom plications from thatwhich made itextremely dimcultto perform my daily
   duties in my assigned occupation.

       Rightnow ,yourhonor,lhave no w ay ofpaying forany kind ofattorney orlegal
   representative to representVanguard America in yourcourtand Ido notfeelthatIcan properly
   maintain my obligations as representati
                                         ve foraforem entioned entity.As Istated before,Iam not
   a Iawyer,Ido notknow how to proceed,Ido notknow how to wri    te orform atIegal
   documentation and Ibasically have no idea what1'm doing.Coupled w ith my medicalconditions
   and high dosage intake ofSSRIS to keep my body and m ind heal  thily grounded in reality,Ifee!
   thatifthere isanything Ican dotojustifyorrightthiswrong which hastaken place,Imustdo it.l
   w illcom ply w i
                  th aIIorders from yourcoud and from yourself,yourHonor.Isim ply do notknow
   w hatto do and ltis extrem ely difficultform e to focus my m ind sometimes to accom plish tasks,
   w hich is one ofthe reasons lwas retired from service.Iwillwork as diligently as possible to do
   w hatIcan to please the court,butthe information thatis being requested,Ipersonally do not
   have nordid have atthe time ofthe Unite The Rightrally,butIcan provide the inform ation of
   the indi
          vidualsthatwere absolutely involved.Idon'
                                                  tknow ifthe VanguardAmerica LLC iseven
    stillvalid in the state ofTexas,yourhonor,butIcan see whatlcan do to have itdisbanded and
    defunct,Idon'    twantany ofthis to affectmy son orhis wellbeing,especially atsuch a critical
    pointin his Ii fe.

      Thank you foryourtim e,yourHonor,w i
                                         th aIIdue respect.

      Very Respecfully,

             Dillon U.Hopper




Case 3:17-cv-00072-NKM-JCH Document 509 Filed 06/24/19 Page 3 of 3 Pageid#: 5354
